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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                              :
SHIRLEY A. CARPIN, as Executor of the         :
Estate of SHIRLEY A. HILSTER, Deceased        :             W.D. PA. No.: 2:20-CV-01537-MJH
and CHARLES W. HILSTER, JR.,                  :
Individually,                                 :             ASBESTOS CASE
                                              :
                                  Plaintiffs, :
                                              :
              -against-                       :
                                              :
AIR & LIQUID SYSTEMS CORPORATION, :
as successor by merger to BUFFALO PUMPS :
INC., et al.,                                 :
                                              :
                                Defendants. :

                           DISMISSAL WITHOUT PREJUDICE OF
                          DEFENDANT SEQUOIA VENTURES INC.

       Plaintiffs, Shirley A. Carpin, as Executor of the Estate of Shirley A. Hilster, Deceased, and

Charles W. Hilster, Jr., (collectively “Plaintiffs), hereby dismiss all claims and causes of action

against Defendant Sequoia Ventures Inc., only, without prejudice, with each side to bear its own

costs and attorneys’ fees. Plaintiffs retain their claims and causes of action against all other named

Defendants.

Dated: June 6, 2022                                   Respectfully submitted,


                                               By:    /s/_____________________
                                                      Benjamin D. Braly
                                                      PA State Bar No. 312760
                                                      Dean Omar Branham Shirley, LLP
                                                      302 N. Market Street, Suite 300
                                                      Dallas, TX 75226
                                                      T: 214-722-5990
                                                      F: 214-722-5991
                                                      bbraly@dobslegal.com

                                                      ATTORNEYS FOR PLAINTIFFS
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                                   CERTIFICATE OF SERVICE

                The undersigned hereby certifies that, on the 6th day of June, 2022, a true and correct copy

of the foregoing was served upon plaintiffs’ counsel and all defense counsel of record through the Court's

CM/ECF system.




                                                 /s/ ________________
                                                 Benjamin D. Braly
